       The following cases in which the Court of Appeals issued published opinions have been
appealed to the Supreme Court:

    1. Harry Lee Davison, III
       v. Commonwealth of Virginia
       Record No. 0633-17-2
       Opinion rendered by Senior Judge Clements on
        October 23, 2018

    2. Paramount Coal Company Virginia, LLC and
       Brickstreet Mutual Insurance Company
       v. Dewey J. McCoy
       Record No. 0710-18-3
       Opinion rendered by Chief Judge Decker on
        October 30, 2018

    3. Patrick Joseph Wakeman
       v. Commonwealth of Virginia
       Record No. 1631-17-4
       Opinion rendered by Judge Russell on
        November 27, 2018
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

1. Michael Sean Green
   v. Commonwealth of Virginia
   Record No. 1338-17-4
   Opinion rendered by Judge Petty
    on July 17, 2018
   Refused (181041)

2. Jeffrey Nigel Carr
    v. Commonwealth of Virginia
   Record No. 1054-17-1
    Opinion rendered by Judge O’Brien
     on July 24, 2018
    Refused (181055)
